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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                        CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                 CLERK OF COURT

Date: January 04, 2021                                      DC Docket #: 19-cv-6078
Docket #: 20-3855                                           DC Court: SDNY (NEW YORK
Short Title: Bromfield-Thompson v. American University of   CITY)
Antigua                                                     DC Judge: Furman



                            NOTICE OF DEFECTIVE FILING



On December 28, 2020 the Form D-P, on behalf of the Appellant Debbie Ann Bromfield-
Thompson, was submitted in the above referenced case. The document does not comply with the
FRAP or the Court's Local Rules for the following reason(s):

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Inquiries regarding this case may be directed to 212-857-8527.
